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Case 1:19-cv-07115-GBD-OTW Document 7 Filed 08/21/19 Page 1 of]21

UNITED STATES DISTRICT COURT
SOU. “ERN DISTRICT OF NEW YORK

 

RICHARD FARMER,
Index No. 19-CV-7115
Plaintiff,

-against-

LAW OFFICE OF WEINER & WEINER, LLC,
PAUL I. WEINER, ESQUIRE, LLC,

PAUL IVAN WEINER, ESQ.,

JOSHUA LAWRENCE WEINER, ESQ,
BUDD LARNER, A PROFESSIONAL CORP.,
D/B/A BUDD LARNER, P.C.,

HENRY A. LARNER, ESQ., C.E.O,

MARK D. LARNER, ESQ., C.E.O,
MITCHELL RAIT, ESQ. & C.E.O,

PETER JOHN FRAZZA, ESQ., C.E.O,
SUSAN REACH WINTERS, ESQ., C.E.O,
LAW OFFICES OF COUGHLIN DUFFY, LLP,
KEVIN T. COUGHLIN, ESQ., and,

TIMOTHY I. DUFFY, ESQ., et al,

Defendants.

 

X

TO: HON. GEORGE B. DANIELS, United States District Judge (LTR)

 

PLAINTIFF’S RESPONSE: OBJECTION TO DEFENDANTS ANSWER DATED

 

8/20/2019 PLAINTIFF SUPPLIES ADDITIONAL EVIDENCE IN SUPPOR

 

 

Plaintiff Richard Farmer appearing Pro Se, in the above titled captioned, Obje
Defendants Letter to District Judge George B. Daniels see Docket (“5’) and (“¢
8/20/2019, falsely accusing the Plaintiff of not serving Defendants properly especially vj
own admission states that Counsel and each Co-Defendant received a copy of
summons and pleading, therefore confirming the Defendants did fact receive and ans
Plaintiff's pleading and Federal summons in some respect, but in reality Defendants
Counsel chose to respond to the pleading instead of actually defending it without
answer in opposition brief executed before this Court.

The Defendants counsel continue to argue with their unbelievable strategic ex

responses at calling Plaintiff's claims and allegations frivolous well after Plaintiff
factual trues copies of a preponderance of evidence annexed in the Complaint ( Exhi

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thru “T” ) that dates the fraud on the United States District Court back to 2009. D

+fendants

submitted no opposition answers to defend against Plaintiff's factual allegations supplied in

support of his Civil Action complaint.

The Co-Defendants Budd Larner, P.C., who has closed their doors in the Stat
Jersey due to employee theft of $1,000,000.00, who had knowledge that the Law

+ of New
Dffice of

Weiner & Weiner, LLC, was operating at an undisclosed location kept hidden by the party’s

involved shared in legal fees and awards unlawfully that came from cases in the Stat
York.

Now current Co-Defendant Coughlin Duffy, LLP, a New Jersey firm since May
recruited the Law Office of Weiner & Weiner, LLC to continue the deceitful scheme wi

> of New

1, 2019
h the

same attorneys father and son New Jersey Attorneys, Joshua Lawrence Weiner and PaullIvan

Weiner (“Co-Defendants’) who’s been advertising on the World Wide Web at; See Plai
(Exhibit “A”) dated 8/21/19 time stamped at 9:33 AM a true copy and 9:42 AM.

https://www.google.com/search?client=firefox-b-1-
d&q=Law+office+of+ Weiner+%26+ Weiner™2C+LLC,

Law Office of Weiner & Weiner, LLC
Address: 60 Washington St #101g, Morristown, NJ 07960
Hours: Open : Closes 5PM

Phone: (973) 615-6666

tiffs

See Plaintiff's (Exhibit “B”) dated 8/21/2019 time stamped at 9:40 AM a true copy and

9:42 AM.

Both Exhibits “A” and “B” are true current timed stamped copies of the Law Office of

Weiner & Weiner, LLC, are operating for business at 60 Washington Street, #101g, Mot
NJ 07960, advertising office hours 9AM to 5PM, using the same (973) 615-6666 that’s 1
https://www.weineremploymentlaw.com/. The factual evidence shows in support of Plai
claims and allegations are not frivolous.

In regard to the Law Office Mound Cotton Wollan & Greengrass LLP, One New

ristown,

ised at
ntiff’s

York

Plaza, New York, NY 10004, on behalf of Kenneth Labbate, See Plaintiffs annexed (Exhibit

“C”) Letter to Judge Daniels, Plaintiff was not aware that Budd Larner, P.C., had obtain
representation until yesterday when Plaintiff received the notification via email.

In addition the false allegations made by Counsel Labbate that improper service

ed legal

was

 

made are frivolous, even though with a cavalier attitude he uses Mr. Rait as an exception i

and pleading to the named co-Defendants thereafter to the Law Office Mound Cotton
Greengrass LLP, One New York Plaza, New York, NY 10004, current counsel for the
Larner, P.C., co-Defendants. Service was in fact completed by Mr. Rait because the doc

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Case 1:19-cv-07115-GBD-OTW Document 7 Filed 08/21/19 Page 3 of/21

were in fact forwarded to the Co-Defendants; excluding Mr. Rait as an exception was a
deliberate,attempt by Counsel Labbate to mislead Judge Daniels.

~ On August 20, 2019 Plaintiff sent Counsel Labbate a courtesy copy via gmail ac¢ount of
Plaintiff's Civil Action Complaint after Plaintiff received the email notification that he was
representing the Budd Larner, co-defendants.

Now in regards to Coughlin Duffy, LLP, Letter to Judge Daniels Docket 5, filed on
8/20/2019 Page 1 thru 4; See Plaintiff’s annexed (Exhibit “D”) Letter to Judge Daniels,
Plaintiff's Opposition and Response; Counsel Mark K. Silver, Esq. starts off with an ae 1
attached hereto as Exhibit “1” to mislead Judge Daniels, Plaintiff could not send any yahoo.com
emails to any of the Defendants because the file was too large to be sent out electronically due to
yahoo.com capacity that had a limit of 25 megabytes.

Plaintiff was forced to open up a new gmail account to load high capacity data fifes that
can be delivered to the named Defendants, now in regards to Plaintiff naming his screenjname
John Wick to prevent malicious computer software from scanning his email for personal data and
obtaining his Plaintiffs true name John Wick a fictional movie character played by Keanu
Reeves who plays a fictional hero, for Counsel Mark K. Miller Esq. who is a real life petson he
insults the intelligence of the Plaintiff, Judge Daniels and the Court by comparing a fictipnal
character John Wick and quote Counsel Mark K. Miller Esq. to [sic] a transmittal of the email to

a potential threat of bodily harm are now concerned for their wellbeing. Plaintiff's response;
Wow!

Dated: Queens, New York
August 21, 2019

Respectfully submitted,

RICHARD FARMER, Plaintiff
Appearing Pro Se

/S/ Richard Farmer
By: Richard Farmer
136-20 38" Ave, #3D
Flushing, NY 11354
(347) 933-9685

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Case 1:19-cv-07115-GBD-OTW Document 7 Filed 08/21/19

LAW OFFICES WEINER & WEINER, LLC,
PAULI. WEINER, ESQUIRE, LLC,

C/O:

Paul Ivan Weiner, Esq.,

New York State Attorney Registration Number: [1648161]
Joshua Lawrence Weiner Esq.,

New York State Attorney Registration Number: [4510509]
60 Washington St #101g,

Morristown, NJ 07960

Tel: 973-455-0026

Fax: 973-455-0026

Email: piw@weinerattorney.com
Email: jlw@weinerattorney.com

Defendants

BUDD LARNER, A PROFESSIONAL CORP.,
D/b/a BUDD LARNER, P.C.,

C/O:

Henry A. Larner, ESQ., C.E.O,
Mark D. Larner, ESQ., C.E.O,
Mitchell Rait, Esq., & C.E.O,
Susan Reach Winters, ESQ., C.E.O,
Peter John Frazza, ESQ., C.E.O,
260 Madison Avenue

18th Floor

New York, NY 10016

Phone: 212-455-0436

E-mail:mrait@buddlarner.com

Defendants

BUDD LARNER, P.C.

C/O:

Mitchell Rait, Esq.

New York State Attorney Registration Number: [2172062]
Chief Operating Officer

150 John F. Kennedy Parkway

Short Hills, NJ 07078-2703

Tel: 973-379-4800

Direct dial: 973-315-4515

Fax 973-379-7734

E-mail: mrait@buddlarner.com

Defendants

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Page 4 off21

 
 

Case 1:19-cv-07115-GBD-OTW Document 7 Filed 08/21/19

LAW OFFICES OF COUGHLIN DUFFY, LLP,

C/O:

Kevin T. Coughlin, ESQ., [1698885] and,
Timothy I. Duffy, ESQ.,

~ New York State Attorney Registration Number: [1698885]

88 Pine Street, 28th floor
Wall Street Plaza

New York, NY 10005
Phone (212) 483-0105
Fax (212) 480-3899

E-mail: kcoughlin@coughlinduffy.com
E-mail: tduffy@coughlinduffy.com

Defendants

MOUND COTTON WOLLAN & GREENGRASS, LLP

C/O:

Kenneth M. Labbate, ESQ.,
One New York Plaza

New York, NY 10004-1901
Phone (212) 804-4200

Fax (212) 344-8066

E-mail: kallabate@mound.com

Attorney for the Defendants Budd Larner, P.C.

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Page 50

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Case 1:19-cv-07115-GBD-OTW Document 7 Filed 08/21/19 Page 6 off21

EXHIBIT
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Law office of Weiner & Weiner, LLG Q

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Weiner & Weiner, P.C. Attorneys at Law

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in Allentown and West Palm Beach. Call 610-821-8600.

Missing: LLC

Jeffrey S. Weiner, PA: Miami Criminal Defense Lawyers
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Missing: LLG

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Richard M. Wiener provides Injury Attorney services, Civil Rights Attorney services, and Police
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firm devoted to: Improving education for children with disabilities ...

Missing: LLC

Law Offices of Weiner & Weiner

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Formerly members of Law Offices of Weiner & Weiner LLC, ... If you or your organization is
working through an employment or labor law issue, experienced ...

Searches related to Law office of Weiner & Weiner, LLC

 
   
 
    

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The Law Offices of W

Website Olrectlons gave

Lawyer in Morristown, New Jersey

Address: 60 Washington Si #101g, Morristown, NJ 07960

Hours: Open - Closes 5PM v
Phone: (973) 615-6666

Suggest an edit

Questions & answers
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Ask a ques

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From The Law Offices of Weiner & Weiner

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companies and employees deal with
Labor union issues and defending en
regard to employment law we handle;
whistlebloweractions,... More

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Case 1:19-cv-07115-GBD-OTW Document 7 Filed 08/21/19 Page 8o

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Labor Law - OSHA:

Paul 1. Weiner and Joshua L. Weiner
Formerly members of Law Offices of Weiner & Weiner LLC,

are pleased to announce they have joined ‘oe | eas

Tire

 

Coughlin Duffy.

340 Mount Kemble Ave. = Morristowr Nu G7062
88 Pine Steet, 281h Noor Wall Sireet Plaza » New York, NY 10005
Phone (212) 492-0105

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18 CHIC IM reaching a fesalution that préderves your Heat Interests. we at Coughiin Oully LLP have

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are able to interpret changes in cases dynamically and intuitively and structure Our approach
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REPRESENTING EMPLOYERS & EMPLOYEES

Coughlin Buffy LLP represent cents mrouuhout Hew Jersay and New York

 

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Representing Employers Employees | Gomehtin Osh lbh yy Document 7 Filed 08/21/19 PSGe™tb

HOME FIRMOVERVIEW ATTORNEYS Call Joshua @ 973-631-6020
|

CONTACT PRESS RELEASES

     

Employment Law Labor Law

1 of 3 8/21/2019, 9:40 AM

 
 

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Paul I. Weiner and Joshua L.

Contact Toda
Weiner y
Formerly members of Law Offices of Weiner & Contact Tod ay
Weiner LLC, For Experienced Legal Assistance

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are pleased to announce they have joined RINE (weaved)

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Coughlin Duffy LLP
www.coughlinduffy.gom

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350 Mount Kemble Avenue
Morristown, NJ 07962

NJ Office: (973) 267-0058

NY Office: (212) 483-0105

Map.and Directions

Call Joshua Weiner or Paul

Weiner for a Free Initial Phone
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REPRESENTING EMPLOYERS & EMPLOYEES

WF

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Case 1:19-cv-07115-GBD-OTW Document? Filed 08/21/19 Page 13 of 21

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Case 1:19-cv-07115-GBD-OTW Document? Filed 08/21/19 Page 14 / 21

MOUND COTTON WOLLAN & GREENGRASS LLP

COUNSELLORS AT LAW
ONE New YORK PLAZA
New YorK, NY 10004-1901

(212) 804-4200

NEW YORK, NY
FLORHAM PARK, NJ
GARQEN CITY, NY
BAN FRANCIGCO, CA
FORT LAUDBRPALE, PL
HOUSTON, TX

KENNETH M, LABBATE FAX: (212) 344-8066

PARTNER WWW. MOUNDCOTTON.COM
212-804-4249
klabbate@moundcotten.com

August 20, 2019
VIA ECE

Honorable George B. Daniels
United States District Judge
United States Courthouse
Southern District of New York
500 Pear! Street, Room 1310
New York, NY 10007

RE: Farmer v. Law Offices of Weiner & Weiner, et al,
Docket No.: 19-cv-7115

Dear Judge Daniels:

 

We write in connection with the letter submitted by Mark Silver on behalf of certain
entities listed as defendants in the Complaint filed in the captioned matter. Budd Larner, A
Professional Corporation, Henry A, Larner, Mark D. Larner, Mitchell Rait, Peter John] Frazza,
and Susan Reach Winters (“Budd Larner Defendants”) have also recently become awate of the
Complaint filed in this matter,’ The Budd Larner Defendants join in the request that t
after reviewing the Complaint, consider dismissing this frivolous action swa sponte, o

  
 

With the exception of Mr, Rait, none of the Budd Larner Defendants were even provided
with a copy of the Complaint via the email attached as Exhibit 1 to Mr. Silver's email, The
Budd Larner Defendants agree with the issues raised in Mr. Silver's letter regarding improper
service and the frivolous and baseless allegations contained in the Complaint and anticipate that
they would proceed in a similar manner if service is ever properly made. The Budd Larner
Defendants also note that there are significant questions regarding personal jurisdiction with
respect to some, if not all, of them, By contacting the Court on this matter, none of the Budd
Larner Defendants waive their right to contest the improper service of process or lack of personal
jurisdiction.

 

' We are not, at this time, aware of any entity named “D/B/A/ Budd Lane, P.C.,” which is listed in the Complaint as
a defendant in its own right.

 
 

 

Case 1:19-cv-07115-GBD-OTW Document? Filed 08/21/19 Page 15 of 21

MOUND COTTON WOLLAN & GREENGRASS LLP
Honorable George B. Daniels
Page 2

Thank you for your consideration of this matter,

Respectfully,

/s/ Kenneth M. Labbate

Kenneth M. Labbate
ce; The Flonorable Ona T. Wang, U.S.M.J. (via ECF)

Richard Farmer (via e-mail and U.S. Mail)
Mark K, Silver (via e-mail)

 
 

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350 Mount Kemble Avenue
P.O, Box 1917
Morristown, New Jersey 07962
phone: 973-267-0058

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88 Pina

 
 

IWStreat Plaza

treet, 28th Floor

, New York 10005
212-483-0105

: phone
wns Coughlin Duffy.» ne yressoase

MARK K. SILVER, Esa.
Direct DIAL: (973) 634-6045
MSILVER@COUGHLINOUFFY.COM

August 20, 2019

Hon. George B. Daniels, U.S.DJ.
United State District Court
United States Courthouse

500 Pearl St.

Courtroom LIA

New York, NY 10007-1312

RE: Farmer vy. Law Offices of Weiner & Weiner, LLC, et al.
Civil Action No,: 19 ev 7115

Dear Judge Daniels:

 

Coughlin Duffy LLP, Kevin Coughlin, ‘timothy Duffy, Josh Weiner and Paul Weiner

(collectively “Defendants”) have become aware of the Complaint filed in the above fenced
matter and are writing to respectfully request the court to schedule a conference in this m

{ter,

First, Defendants wish to advise the Court that as of the date of this letter, Defendants
have not been properly served in this matter and any attempts by Plaintiff to enter default against

the Defendants would be improper. As evidenced by the Plaintiffs own “Affirmation of
Service”, Plaintiffs only method of transmitting the Complaint to the Defendants was “via

yahoo.com email servers” which does not comport with proper service under the Tederal
of Civil Procedure, (See Exhibit 1 attached hereto).’

 

' Defendants also note the named sender of the email is a “John Wick”. John Wick is th
character in a popular series of action adventure movies starring Keanu Reeves wherein
Wick is a brutal and merciless assassin/vigilante. Defendants mention this because they
the transmittal of the email to be a potential threat of bodily harm and are now concerned
their own wellbeing,

Rules

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_ {f Defendants were offered a Waiver of Service pursuant to Rule 4, they would execute
said waiver, but as of the date of this letter, said waiver has not been offered by the Plaintiff.

Once proper service has been made (or waiver thereof), Defendants intend to serve
Plaintiff with a Rule [1 letter followed by a Motion to Dismiss pursuant to Rule 12(b)(6)/as the
Complaint in this matter is wholly frivolous and without merit. Even the most cursory of review
of the Complaint allows the reader to discern that Plaintiff's Complaint fails to state a case of
action that Plaintiff has standing to assert. Setting aside the fact that the allegations made by
Plaintiff are utterly false and wholly defamatory, the alleged causes of action stemming from
violations of “New York State Judiciary Law” do not carry with them a private right of attion
from which the Plaintiff can recover damages. Plaintiff has no relationship with the Defendants
other than he is a pro se adversary in another action. ‘This Court is aware of the history between
this Plaintiff and the Defendants in the related action of farmer v. FZOAD.com Enterprises, Inc.
ef al, (17-cv-9300) and the filing of this action is nothing more than a tactic by the Plantiff to
harasss and defame the Defendants.

 

Defendants would ask the Court, after reviewing the Complaint, to consider dismissing
this action sua sponte or, alternatively, setting a court conference to provide guidance on|/how to
proceed in an expedited manner.

Respectfully submitted,
COUGHLIN DUFFY, LLP
By: /s/Mark K. Silver

Mark K. Silver
MKSitfe

Ce: The Honorable Ona T. Wang, U.S.M.J. (via ECF)
Richard Farmer (via e-mail and U.S. Mail)

 
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EXHIBIT 1

 

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From: . ‘ John Wick <eyesearch.57@gmail.com>

Sent: . Thursday, August 1, 2019 3:32 PM

To: Y piw@weinerattorney.com; jlw@weinerattorney,com; mrait@buddlarner.com; Kevin
Coughlin; Timothy Duffy; Joshua Weiner; Linda Hali

Subject: Farmer v. Law offices of Weiner & Weiner et al, LLC 19-CV-7115: You Have Been Served.

Attachments: 2019_08_01_15_22.50 U.S. District Court SONY Summons.pdf; 278.08.) 5.24.52
U.S. District Court Summons 2.pdf; 201908 0115.26.55 US, District Court SONY

summons 3.pdf

ely Farmer v. Law offices of Weiner & Weiner et «(2

AFFIRMATION OF SERVICE

 

 

I, Richard Farmer Plaintiff, declare under penalty of perjury that I submitted today’s filings to the|Pro Se office,
to be submitted via E.C.F., electronic filing, and via email to all the parties involved, in addition Flaintiff
Farmer sent the parties an additional service via yahoo.com email servers in which Yahoo used their digital
services to deliver Civil Pleading and Summons to Appear before the United States District Court for the
Southern District of New York.
[Farmer v. Law offices of Weiner & Weiner, LLC, et al. U.S. District Court, SDNY Index. No. 19-CV-~7115:;
You Have Been Served. ]

Richard Farmer
Plaintiff

 
 

Case 1:19-cv-07115-GBD-OTW Document7 Filed 08/21/19

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

RICHARD FARMER,

Plaintiff,
-against-

LAW OFFICES WEINER & WEINER, LLC,
PAUL I. WEINER, ESQUIRE, LLC.,

PAUL IVAN WEINER, ESQ.,

JOSHUA LAWRENCE WEINER, ESQ.,
BUDD LARNER, A PROFESSIONAL CORP.,
D/B/A BUDD LARNER, P.C.,

HENRY A. LARNER, ESQ,, C.E.O,

MARK D. LARNER, ESQ., C.E.O,

MITCHELL RAIT, ESQ. & C.E.O,

PETER JOHN FRAZZA, ESQ., C.E.O,
SUSAN REACH WINTERS, ESQ., C.E.O,
LAW OFFICES OF COUGHLIN DUFFY, LLP,
KEVIN T. COUGHLIN, ESQ., and,

TIMOTHY I. DUFFY, ESQ., et al,

Defendants.

 

AFFIRMATION OF SERVICE

I, Richard Farmer Plaintiff, declare under penalty of perjury that I submitted toda

filings to the Pro Se office, to be submitted via E.C.F., electronic filing, and via email to

parties involved.

Dated: Queens, New York
August 21, 2019

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Respectfully submitted,

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